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                        IN THE UNITED STATES DISTRICT COURT FOR THE               D
                                EASTERN DISTRICT OF TENNESJII
                                     SOUTHERN DIVISION                       r
                                                                               ILE '
                                                                                  SEP 1 4 2020
              JAY MACHLEIT, individually;               )
                                                                           Clerk, u. s. District Court
              TRIPLE C DEVELOPMENT,                     )                 Eastern District of Tennessee
              INC.; MACH -1 Express Wash, LLC;          )                       At Chattanooga
                                                        )
                    Plaintiffs,                         )
                                                        )
              v.                                        )     Case No.:
                                                        )
             KAREN HUTTON;HUTTON                        )
             CHERRY HILL NJ ST,                         )
             LLC; and HUTTON ST 17, LLC                 )
                                                        )
                   Defendants.                          )

                                               COMPLAINT

                   COME NOW, the plaintiff Jay Machleit individually ("Machleit"), Mach-I

             Express Wash, LLC ("Mach-I') and Triple C Development, Inc., ("Triple C")

             (collectively herein the "Plaintiffs") and files this cause of action against Karen

             Hutton, individually ("Hutton")Hutton Cherry Hill NJ ST, LLC, ("Hutton CH") and

             Hutton ST 17, LLC ("Hutton ST") (collectively herein the "Defendants")alleging as

             follows:

                                                The Parties

                   1.    Jay Machleit ("Machleit") is an adult resident of the state of Alabama.




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         2.     Triple C Development, Inc. ("Triple C"), is a corporation organized and

   existing under the laws of the state ofAlabama. Triple Chas an interest in the Cheny

   Hill project referenced in this action.

         3.     Mach-1 Express Wash, LLC ("Mach-I") is a limited liability company

   organized in accordance with, and existing under the laws of the state of Delaware.

   The sole member ofMach-1 is Jay Machleit.

         4.     Karen Hutton is an adult resident of the state of Tennessee, and does

   business in Hamilton County, Tennessee. Hutton may be served at: 736 Cherry

   Street, Chattanooga, Tennessee 37402.

         5.     Hutton Cherry Hill NJ ST, LLC, is a limited liability company

  organized and existing under the laws of the state of New Jersey with its principal

  place of business in Hamilton County, Tennessee. Hutton CH may be served

  through its registered agent for service of process: Corporation Service Company,

  100 Charles Ewing Blvd, Suite 160, Princeton S Corporate CTR, Ewing, NJ 08628.

         6.    Hutton ST 17, LLC, is a limited liability company organized and

  existing under the laws of the state of Delaware, with its principal place of business

  in Hamilton County, Tennessee. Hutton ST may be served through its registered

  agent for service of process: Corporation Service Company, 100 Charles Ewing

  Blvd, Suite 160, P1inceton S Corporate CTR, Ewing, NJ 08628.




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            7.    Upon information and belief, Hutton CH is, or claims to be, the

   successor in interest to Hutton ST, and both entities are controlled by Hutton. Upon

   fi.uther information and belief, Hutton ST and/or Hutton CH participated in the

   matters referenced herein and/or are alter egos of Hutton.

                                  Jurisdiction and Venue


   8. Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1332 because there

        exists complete diversity of pa1ties. Further, the amount in controversy exceeds

        $75,000.00, exclusive of costs and fees.

  9. Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because some or all

        of the Defendants reside in this district. Venue is also proper in this Cowt

        because some of the acts or omissions occmred in Hamilton County, and

        pursuant to the Global Settlement Agreement referenced herein, the parties

        agreed that cowts of competent jurisdiction in Hamilton County, Tennessee, shall

        be the appropriate f01um for resolving any disputes involving the global

        settlement agreement.


                                    Factual Allegations

  10.     Machleit 1s a caiwash developer and operator headqua1tered m Centre,

  Alabama.




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   11.    Hutton is a real estate developer headquartered in Chattanooga, Tennessee.

   Upon information and belief, Hutton's business focuses on inter alia shopping

   centers, not ca1washes.

   12.   In or around 2018, Hutton attempted to perfonn development work for a

   nationally established carwash brand. Upon information and belief, the relationship

   ended abruptly and on bad terms so Hutton began searching for a new business

  partner that would help her develop ca1washes.

   13.   Hutton approached Machleit in December of 2018, and asked him to sta1i a

  ca1wash venture with her. She would be the prefened developer and he would be the

  operator. Although, Machleit had no particular interest in starting a new caiwash

  venture with a partner, Hutton was persistent and eventually convinced Machleit to

  alter his position.

  14.    Hutton represented to the Plaintiffs that the business would be a joint venture,

  and it had potential to expand nationwide. Hutton reassured Machleit that their joint

  venture would be a new stand-alone business, separate from their existing

  businesses. Fmihe1more, Hutton represented that she had capital available for the

  venture, and no personal guarantees would be required.

  15.    Eventually, due to Hutton's persistence and promises, Machleit entered into a

  business relationship with Hutton. Machleit tiusted Hutton, believing she would

  work with him in good faith to develop a nationwide caiwash business.



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   16.   The basic structure of the joint venture relationship between Hutton and the

   Plaintiffs involved the patties setting up various limited liability entities to acquire,

   build, operate and/or lease individual ca1wash locations. The patties agreed that

   generally, Machleit would initially find or approve ca1wash locations while training

   Hutton employees to eventually assume the role of locating sites for presentation to

   Machleit for his approval.

   17.   Hutton would purchase the prope1ty and build the canvashes to Machleit's

   specifications (using a Hutton-related company to do the constrnction work), and

  then lease the facilities back to Machleit. Machleit would control and operate the

  facilities, and all of the entities would be linked together under a parent company

  owned jointly by Machleit and Hutton.

  18.    Because Machleit had the most knowledge and experience developing and

  operating catwashes, gained through years of experience and holding of industry and

  trade secrets, and since he was contributing the bulk of the work, the parties agreed

  that Machleit would own 70% of the parent company and Hutton would own 30%.

  19.    In reliance on Hutton's repeated promises and representations, Machleit

  substantially performed by setting numerous LLC's that would operate caiwashes in

  various locations throughout the country.

  20.    Machleit considered Hutton a friend, and he never suspected that Hutton

  secretly intended to drain Machleit of his valuable business information and



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   knowledge, and then abandon him after he laid the groundwork for Hutton's staff to

   build a carwash business independent of him and his team.

   21.    Hutton represented that lawyers she selected would prepare the paperwork for

   the parent company contemplated by the joint venture.

   22.    During this time, Hutton and her team repeatedly met with Machleit and his

   team gaining valuable proprietary knowledge and information regarding the caiwash

   business, including constmction plans, supplier information and other proprietary

   information and data.

   23.   Hutton eagerly wanted to develop carwashes in 6 different markets spanning

  No1th and South Carolina. Hutton had previously explored those markets as a

   developer for another entity unrelated to this case, and because of that her businesses

  had sunk costs. She therefore actively and aggressively pushed Machleit to review

  site locations in those markets.

  24.    Pursuant to Hutton's stated goal of developing North and South Carolina,

  Machleit and his team made numerous site visits beginning in early January of2019

  and researched Hutton's proposed sites. Machleit dete1mined that all but two of the

  sites were unusable; thus, he and his team then identified 4 sites (I in each of those

  markets) that Hutton moved forward with under the guise that the sites would be

  included in their joint venture.




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   25.    Ultimately, Machleit executed 4 leases with Hutton in June 2019. Those

   leases were executed for locations in Forrest City, NC, Lexington, NC, Vineland,

   NJ, and Thomasville, NC.

   26.   Pursuant to Hutton's direction, attorneys prepared draft documents for the

   parent company.

   27.   However, the documents did not capture the full agreement of the parties,

   therefore, Machleit did not sign the documents Hutton presented. Hutton assured

   Machleit this was a nothing to worry about, and the details would be ironed out if

   Macbleit would continue to identify more carwashes for development and

   operations.

   28.   P1ior to making these false promises and assurances, Hutton had learned that

  Machleit already had prospective caiwash locations in New Jersey, and, in addition,

  he held purchase rights for several caiwash sites. Hutton, through false promises

  and coercion, convinced Machleit to assign his purchase rights to her in furtherance

  of their joint venture.

  29.    Hutton assured Machleit that if for any reason things did not work out, she

  would assign the purchase contracts back to Machleit pending he reimburse her third

  party costs. Based on and but for these representations, Machleit altered his position

  and assigned the following carwash locations to Hutton in fmiherance of the joint

  venture. The Purchase Sale Agreements for the Millville, NJ site was assigned to



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   Hutton on July 8, 2019. The Purchase Sale Agreement for the Gloucester, NJ site

   was assigned to Hutton on July 9, 2019.

   30.    Subsequently, Machleit agreed to enter into a sale/lease back agreement with

   Hutton for two sites Machleit previously developed and owned in Attalla, Alabama

   and Cedartown, Georgia. Like the other sites, both of these sites were to be included

   in the joint venture. Hutton purchased the Cedaitown, Georgia site in June 2019. In

   November 2019, Hutton purchased the Attalla, Alabama site. Leases for both sites

   were executed sh01tly thereafter.

   31.   Subsequently, Hutton presented Machleit with a Letter Agreement pertaining

   to leases for certain locations. This Letter Agreement included verbiage which

   referenced the Joint Venture.

   32.   Around this same time, the parties added two more locations to the joint

   venture. Specifically, Hutton convinced Machleit to enter into a sale/lease agreement

  dated September 20, 2019 regarding Machleit's carwash site at Cheny Hill, NJ. Like

  the other agreements, the Cheny Hill agreement contemplated a sale/lease-back

  agreement and a joint venture between the parties. And the parties, via executed

  lease on October 21, 2019 added a location in Mechanicsburg, Pennsylvania, to the

  venture.

  33.    Towards the end of October 2019, representatives from Hutton met with

  Machleit and his team to discuss potential partnership options.



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   34.    At this meeting, Hutton's representatives in a "take it or leave it manner"

   presented tlu·ee options, none of which reflected the initial verbal agreement between

   Machleit and Hutton.

   35.   Because Machleit had already invested significant time, manpower and other

   resources into the venture, Machleit felt he must choose one of the three options.

   36.   Hutton's representatives made clear at the meeting that although Machleit,

   Triple C and Mach-I had substantially perfmmed in accordance with the stated

  purpose and intent of the venture, Hutton would not honor terms of the venture,

  particularly Hutton's assignment back to Machleit of the carwash sites.

  3 7.   Hutton pressured Machleit to choose one of her three draconian options

  regarding continued operation of the joint venture.

  38.    Hutton represented and misrepresented to Machleit that the intent of the

  Letter Agreement was essentially to act as a place-holder while the agreement for

  the joint venture was being finalized.

  39.    In reliance upon Hutton's continued verbal and written representations and

  her promises regarding the joint venture agreement, Machleit signed the Post-

  Closing Agreement and Letter Agreements.

  40.    It was agreed, and did Machleit continue working to develop more carwashes

  in furtherance of the joint venture, including the following locations on the

  conesponding dates:



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                      Lease Date            Location

                      Dec. 2019             Roanoke Rapids, NC

                      Dec. 2019             Gaffney, SC

                      Jan. 2020             Davenport, FL


   41.   In or around late December 2019, Hutton circulated a new draft of the

   agreement for the joint venture.       The agreement still did not capture the

   understanding of the parties, and Mach]eit did not sign the document.

   42.   Hutton continued to represent that things would be sorted out and the

   documents for the parent company would be completed soon. Based on Hutton's

   assurances, it was agreed and did Machleit continue working on the following sites

   and executed leases on the corresponding dates:

                     Lease Date                Location

                     Jan. 2020                 Kissimmee, FL

                     Jan. 2020                 Plant City, FL

                     Jan. 2020                 Goldsboro, NC

                     Jan. 2020                 Sicklerville, NJ

                     Jan. 2020                 Turnersville, NJ




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    43.   Suddenly, and without warning, and in contradistinction to Tennessee law,

    Hutton abruptly attempted to deny the very existence of their joint venture and

   attempted to keep most, if not all, of the carwashes for herself.

   44.    Even though the Plaintiffs and Defendants had at that point began developing

   over 15 carwash locations together, Hutton claimed that the parties never had a joint

   venture.

   45.     By way of example, Hutton declared, "Although we have negotiated in good

   faith to enter into a joint venture between a Hutton affiliate and a Triple C affiliate,

   we have unfortunately been unable to reach such an agreement."

   46.    Bewildered by Hutton's behavior, Machleit attempted to communicate with

   Hutton and resolve the issues. But it did not help.

   4 7.   While Machleit was attempting to work toward a resolution, Hutton, through

   her various entities, filed 14 lawsuits tiying to ignore the existence of the joint

   venture and seize all the ca1washes for herself and her companies.

   48.    Upon information and belief, in an effort to fmther delegitimize Machleit,

   Hutton induced or otherwise convinced Beny Construction Company, Inc. to initiate

   legal proceedings against Machleit in order to engage Machleit in essentially a "two-

   front war".




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    49.   Over the next several weeks, Machleit's team continued to tty to work out a

   resolution with Hutton so the patties could attempt an amicable cessation to their

   business relationship.

   50.    In May 2020 the parties executed the Global Settlement Agreement providing

   for a global resolution of all claims and disputes between the parties.

   51.    Hutton and Machleit agreed to settle any claims they may have against one

   another, and Machleit, in an effort of compromise generously allowed Hutton to

   keep 15 carwashes. Pursuant to the Global Settlement Agreement Machleit had the

   option to purchase 3 carwash locations back from Hutton.

   52.    For her part, Hutton released her claims, dismissed the lawsuits and promised

   to purchase the Cheny Hill carwash from Machleit for the set price of $3,573,494.81.

   53.    Machleit kept his promises and terminated 15 carwash location leases giving

   those rights to Hutton. He then paid in excess of $5.8 million to Hutton for the

   ca1washes in Forest City and Cedartown. Machleit elected to not purchase the

   Attalla, Alabama location; however, he tumed over the location to Hutton in

   accordance with the terms set fo1th in the Global Settlement Agreement. Machleit

   trusted Hutton to pe1form her obligations under the Global Settlement Agreement in

   good faith. But this was not to be.




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    54.    Among other things, Hutton was obligated to close on Cherry Hill by July 31,

    2020. But as the closing date approached, Hutton started injecting new issues into

    the deal and making additional, unnecessary demands upon Machleit.

   55.    Hutton demanded that Triple C sign a Post-Closing Agreement and give

   Hutton a $35,000.00 credit on the sale to satisfy her additional, and unnecessary

   demands.

   56.    Machleit signed the Post-Closing Agreement, perfom1ed vanous tasks

   demanded by Hutton and gave Hutton a $35,000.00 credit.

   57.    Hutton signed a Closing Settlement Statement verifying her agreement, and

   the bank wired the funds for the closing.

   58.    Machleit was ready, willing and able to close, but then Hutton refused to go

   f01ward with the closing.

   59.    On August 3, 2020, Hutton sent Machleit a letter attempting to terminate her

   obligations. Even though the parties executed a Global Settlement Agreement

   requiring Hutton to purchase Cheny Hill, Hutton refused to close.

   60.    Hutton premised her reasoning for breaching the contract on an en-oneous and

   easily disprovable assertion that the Plaintiffs failed to honor the terms of the 01iginal

   purchase agreement.

   61.    Although the original Cheny Hill purchase agreement was subsumed in the

   Global Settlement Agreement, the Global Settlement Agreement set forth new



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    obligations required of Machleit. Machleit and the Plaintiffs faithfolly perfom1ed

    each of these requirements prior to closing.

   62.    Hutton has abandoned her obligations under the Global Settlement

   Agreement.

   63.    But for Hutton's deceptions, frauds, misrepresentations, suppress10ns of

   mate1ial facts, corporate espionage, thefts of trade secrets and general scoundrelly

   actions, Machleit would not have entered into the agreement(s), smTendered 15

   caiwash locations, paid millions of dollars for two caiwashes, pe1fonned additional

   work at Cheny Hill.

   64.    Machleit forther would not have contemplated giving Hutton a credit on

   Cheny Hil1 or perfonned additional work on the property, if he had known Hutton

   did not intend to perfonn her purchase obligations in good faith.

   65.   Machleit lost time and money due to Hutton's schemes and misconduct.

   Hutton's conduct is clearly in bad faith and violates the spirit and terms of her

   agreements. Machleit has suffered in-eparable harm and damage due to Hutton's

   misconduct and misrepresentations.

   66.   The Cheny Hill location, because of Hutton's breaches, remains shuttered,

   costing the Plaintiffs lost revenue and accruing expenses and costs on a daily basis.

   67.   Hence, this lawsuit.




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                                                   Countl
                                             (Breach of Contract)

       68.    Plaintiffs adopt and incorporate by reference the allegations of the preceding

       paragraphs as if fully set forth herein and further alleges:

       69.   As explained in the foregoing paragraphs, Hutton entered into a Global

       Settlement Agreement and failed to perform her obligations.

       70.    Hutton breached the Global Settlement Agreement by, among other things,

       failing or refusing to purchase Cherry Hill as required under the terms of the Global

   Settlement Agreement.

       71.   As a result of Hutton's breach of the Global Settlement Agreement, the

   Plaintiff suffered and continues to suffer actual harm and damages in the f01m of

   lost profit, lost earnings, and additional out-of-pocket expenses and costs.

   72.       The facts as set forth above constitute a breach of contract by Hutton for which

   the Plaintiffs is entitled to specific performance and an award of consequential

   damages in an amount to be determined at trial 1•

             WHEREFORE, Plaintiffs plead and pray as follows: (1) that the Plaintiffs be

   awarded specific perfonnance; (2) that Plaintiffs be awarded consequential and

   compensatory damages as appropriate; (4) that, Plaintiffs be awarded their

   reasonable attorney fees; (5) that the costs of this action be taxed to the Defendants;


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   Because real property and franchises are both unique, damages are usuaJly inadequate and such contracts are
  generally eligible for specific performance. See, e.g., McGaugh v. Galbreath, 996 S.W.2d 186, 191 (Tenn. Ct. App.
  1998).


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   and (6) that Plaintiffs receive such other and further relief as allowed by law or

    required by equity.

                                       Count IT
                      (Breach of Express and Implied Warranties)

   73.    Plaintiffs adopt and incorporates by reference the allegations of the preceding

   paragraphs as if fully set fo1th herein and further alleges:

   74.    Hutton warranted, among other things, that Defendants would close on Cherry

   Hill and implicitly warranted that she would perform her obligations in good faith

   and not hinder Machleit's performance of the contract tenns.

   75.   Defendants improperly and/or in bad faith sought to prevent or delay

   perfo1mance of the agreement in order cause hann to Machleit and/or prevent the

   closing.

   76.   Defendants breached their express and implied warranties, including the

   implied covenant of good faith and fair dealing by, among other things, failing to

   participate in the closing in good faith, requiring additional credits and work from

   Machleit and/or failing to purchase Cherry Hill.

   77.   As a direct, proximate and foreseeable result of Defendants' breaches oftheir

   express and/or implied warranties, Plaintiffs have suffered, and will continue to

   suffer, injury and damages.

         WHEREFORE, Plaintiffs demand an award against Defendants in an amount

  sufficient to compensate them for their injuries and damages, according to proof,

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    along with interest, a reasonable attomey fee, the costs of this action and such other

    and fmther relief, at law or equity, to which Plaintiffs may be entitled.

                                              Count III
                                               (Fraud)

    78.   Plaintiffs adopt and incorporate by reference the allegations of the preceding

   paragraphs as if fully set forth herein.

   79.    The facts stated herein demonstrate that Hutton made one or more false

   representations of mateiial fact, including, but not limited to, representations that she

   would purchase Cheny Hill. The representations were made knowingly, recklessly

   and/or without regard to truth.

   80.    Plaintiffs relied upon the misrepresentations and suffered resulting damages.

          WHEREFORE, Plaintiffs demand an award against Defendants in an amount

   sufficient to compensate them for their injuries and damages, according to proof,

   along with interest, punitive damages, a reasonable attorney's fee, the costs of the

   action and such other and further relief, at law or equity, to which Plaintiffs may be

   entitled.

                                         Count IV
                                     (Promissory Fraud)

   81.    Plaintiffs adopt and incorporate by reference the allegations of the preceding

   paragraphs as if fully set forth herein.




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    82.   The facts stated herein demonstrate that Hutton made one or more false

   representations of material fact, including representations that she would purchase

    Cherry Hill.

    83.   Hutton intended to deceive Machleit and had no present intent to perform at

   the time the representations were made.

   84.    The representations were made knowingly, without belief in their trnth, or

   recklessly without regarding to their truth or falsity.

   85.    Plaintiffs relied upon the representations and suffered damages.

          WHEREFORE, Plaintiffs demand an award against Defendants in an amount

   sufficient to compensate injuries and damages, according to proof, along with

   interest, punitive damages, a reasonable attorney's fee, the costs of the action and

   such other and further relief, at law or equity, to which Plaintiffs may be entitled.

                                        CountV
                                    (Equitable Relief)

   86.    Plaintiffs adopt and incorporate by reference the factual allegations of the

   preceding paragraphs as if fully set forth herein.

   87.    Hutton used her relationship with Machleit to obtain, among other things,

   money, ca1washes, and valuable data and information from Machleit. Plaintiffs

   performed their obligations in good faith, and Hutton has been unjustly enriched by

   her misconduct. Hutton is obligated to complete her closing and disgorge any profit

   she or any of her entities made from her misconduct.


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             WHEREFORE, PREMISES CONSIDERED, the Plaintiffs pray for equitable

   relief in the fonn of specific performance, namely an order requiring Hutton to

   complete the purchase of the Cherry Hill location, and for other good and equitable

   relief the Court deems proper. The Plaintiffs fu1ther pray for such reimbursement

   of costs and attorneys' fees expended by the Plaintiffs in bringing this action.

                                          Count VI
                                   (Declaratory Judgment)

   88.       Plaintiffs adopt and incorporate by reference the factual allegations of the

   preceding paragraphs as if fully set forth herein.

   89.   All parties necessary for complete adjudication of the controversy are before

   the Court.

   90.   There is a substantial controversy between the parties having adverse legal

   interests of sufficient immediacy and realty to warrant issuance of a declarat01y

   judgment. A declaratory judgment is appropriate and necessary to declare the rights,

   status and other legal relations of the parties with respect to the matters as alleged

   herein.

   91.   Plaintiffs hereby seek an award declaring the rights and legal obligations of

   Machleit and Hutton as follows:

                  a.     Hutton breached the Global Settlement Agreement with
                         Machleit;

                  b.     Hutton breached her duties of good faith and fair dealing;



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                 c.    Hutton is obligated to close on CheITy Hill; and

                 d.    Hutton's claim for payment for equipment is barred or
                       Hutton should be estopped from asserting the claim.


                                       COUNT VII
                                 (Breach of Fiduciary Duty)

   92.    The Plaintiffs adopt in incorporate the preceding allegations set forth in

   the paragraphs above, and further allege:

   93.    Hutton and the Defendants breached their fiduciary duty owed to the

   Plaintiffs.

   94.    The parties, notwithstanding the joint venture did catty out a general

   partnership in connection with the development of the carwashes.

   95.   As the Plaintiffs' general partners in the joint venture, the Defendants

   had a duty of loyalty to the Plaintiffs. The Defendants breached the duty of

   loyalty owed to the Plaintiffs by misrepresenting material facts regarding the

   Defendants' tme intentions.

   96.   The Defendants further breached the duty of loyalty owed to the

   Plaintiffs by stealing proprietary trade secrets from the Plaintiffs for the

   Defendants' own use and financial gain.

      WHEREFORE, PREMISES CONSIDERED, the Plaintiffs prays for

  judgment against the Defendants for Count VII. Further the Plaintiff prays

  for the award of compensatory and punitive damages in an amount to both

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   compensate the Plaintiff and the punish the Defendants as well as deter the

   type of conduct exhibited by the Defendants. The Plaintiffs further prays for

   the award of costs and fees associated with bringing this action.

                                 JURY DEMAND

   97.   Plaintiffs demand a trial by jury on all claims so triable.


                                                 Respectfully submitted,

                                                 sf H Gregorv Harp
                                                 H. Gregory Harp (asb-0904-t75h)*
                                                 GREGORY HARP LLC
                                                 Post Office Box 26
                                                 Trussville, Alabama 35173
                                                 205.291.0081 (telephone)
                                                 gh@gregoryharplaw.com

   *Pro hac vice motion is pending; admitted to practice and in good standing with the
   State of Alabama, United States Court of Appeals for the Eleventh Circuit; United
   States District Court for the Northern District of Alabama; United States District
   Court for the Middle District of Alabama




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